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                      IN THE UNITED STATE BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                               §           CASE NO. 4:15-31086
                                                     §
UNIVERSITY GENERAL HEALTH                            §           CHAPTER 11
SYSTEM, INC., et al.                                 §
                                                     §           JOINTLY ADMINISTERED
                DEBTORS1                             §
                                                                                                           

            SECOND APPLICATION FOR PAYMENT OF POST-PETITION
    ADMINISTRATIVE EXPENSE OWED TO COMMUNITY PATHOLOGY P.L.L.C.

        THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
        YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
        CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF
        YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
        A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU
        MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
        DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
        WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
        FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
        WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
        MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
        ATTEND THE HEARING. UNLESS THE PARTIES AGREE
        OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
        HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

        REPRESENTED             PARTIES        SHOULD         ACT       THROUGH          THEIR
        ATTORNEYS.

        THIS MOTION HAS BEEN SET FOR HEARING ON MARCH 21, 2016
        AT 1:00PM.


TO THE HONORABLE LETITIA Z. PAUL,
UNITED STATES BANKRUPTCY JUDGE:

                                                            
1
   The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
University General Health System, Inc. (2436), UGHS Autimis Billing, Inc. (3352), UGHS Autimis
Coding, Inc. (3425), UGHS ER Services, Inc. (6646), UGHS Hospitals, Inc. (3583), UGHS Management
Services, Inc. (4100), UGHS Support Services, Inc. (3511), University General Hospital, LP (7964), and
University Hospital Systems, LLP (3778).
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              Community Pathology, P.L.L.C. (Community Pathology) hereby requests an Order

granting allowance and payment of an administrative expense claim for outstanding fees

invoiced for pathology services provided by Community Pathology to the Debtors, University

General Health System, Inc., UGHS Autimis Billing, Inc., UGHS Autimis Coding, Inc., UGHS

ER Services, Inc., UGHS Hospitals, Inc., UGHS Management Services, Inc., UGHS Support

Services, Inc., University General Hospital, LP, and University Hospital Systems, LLP

(collectively, the “Debtors”). This is its second administrative expense claim.2

              This claim is made pursuant to 11 U.S.C. §503(b)(1)(A), and in support thereof,

Community Pathology respectfully states as follows: 

                                                               JURISDICTION AND VENUE

1.            This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

proceeding is a core proceeding pursuant to 28 U.S.C. §157. Venue is proper in this Court

pursuant to 28 U.S.C. §§1408 and 1409.

2.            The statutory predicate for the relief requested is section 503(b)(1)(A) of Title 11 of the

United States Code (the “Bankruptcy Code”).

                                                                    BACKGROUND

3.            On February 27, 2015 (the “Petition Date”), Debtors filed a petition for relief pursuant to

Chapter 11 of the Bankruptcy Code (the “Bankruptcy Code”) in the United States Bankruptcy

Court for the Southern District of Texas (the “Court”). Among the other Debtors in this jointly

administered case is University General Hospital, L.P. (UGH LP). UGH LP entered several

agreements with Community Pathology as part of normal business operations, two of which are

the subject of this Application and more fully described below.


                                                            
2
   See Dkt. # 762 (first claim)

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4.       Histology Agreement: Prior to the Petition Date, Community Pathology and UGH LP

entered the Histology Processing and Transcription Agreement (“Histology Agreement”), with

an effective date of September 1, 2006.3          The purpose of the Histology Agreement was to

provide for quality pathology services at Debtors’ main hospital campus at 7501 Fannin Street,

Houston, Texas at a reasonable cost to its patients, to promote efficient hospital operations, and

to meet legal obligations related to the stabilization and treatment of patients. Under the

Histology Agreement, Community Pathology provided, and continues to provide, specialist

physician services and full-service clinical and administrative services to Debtors and their

patients at the hospital. Specifically, Community Pathology provides clinical and histology

transcription services for the benefit of Debtors’ patients at the hospital.4 Community Pathology

bills these patients (or payors under managed care contracts) directly for the services provided,

except in cases of Medicare, Medicaid and other government-funded inpatient participants. For

that group (Medicare, Medicaid, etc.), Community Pathology bills UGH LP on a monthly basis,

who in turn submits billing on behalf of the patient to the applicable government entity for

payment. The Histology Agreement was extended on two occasions, with a current expiration

date of January 31, 2017.

5.       UGH LP has not paid Community Pathology for the services provided by Community

Pathology on behalf of the Medicare, Medicaid, and Tricare patients under the Histology

Agreement for the post-Petition months October, November, and December 2015. Invoices for

the time period of October 2015-December 2015 have been presented to UGH LP, for a total



                                                            
3
   The Histology Agreement and its Addendums were filed as Exhibit 1 to Dkt. 762 and are collectively
referred to as the Histology Agreement.
4
   Histology is the science concerned with the minute structure of tissues and organs in relation to their
function. Histology typically involves examination of a thin slice of tissue under a light microscope.

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amount of $19,916.07 due and owing.5 A summary of the administrative claims and the redacted

invoices are attached here as Exhibit 1.6

6.       PSA: Community Pathology and UGH, LP also entered a Professional Services

Agreement (“PSA”), effective on August 1, 2011.7 Under the PSA, Community Pathology was

retained to provide pathology services at Debtor’s main hospital campus at 7501 Fannin Street,

Houston, Texas for a term of five (5) years. The PSA further provides for a Medical Director of

Services, provided by Community Pathology, who is to provide oversight and administration of

the clinical pathology services performed. While the PSA generally provides for UGH LP and

Community Pathology to independently bill patients and each collect the charges due to them,

with respect to services provided on behalf of Medicare/Medicaid patients, the parties agreed to a

Medical Director Fee (“Fee”) of $2,500 per month to be paid by UGH LP to Community

Pathology.     This Fee specifically covers the oversight and administration of the clinical

pathology services performed by the hospital laboratory on behalf of the Medicare/Medicaid

patients. The Fee is to be paid monthly and is due within thirty (30) days of the prior month’s

admissions.

7.       UGH LP has failed to pay for the Medical Director services provided by Community

Pathology in December 2015. A Post-Petition invoice for December 2015 was presented to

UGH LP, for a total amount of $2,500. See Exhibit 2.

8.       Debtors agreed that UGH LP was in default of its post-Petition obligations under the PSA

and General Histology Agreements. UGH LP has not disputed the accuracy of the invoices due,

of $19,916.07 and $2,500.00, for a total of $22,416.07.


                                                            
5
   This Court signed an Order on January 11, 2016 allowing for $68,981.55 as an administrative expense.
6
   Redactions were made for Protected Health Information (PHI).
7
   The PSA was filed under seal as Exhibit 3 to Dkt. # 762.

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9.       Community Pathology requests that UGH LP satisfy these administrative expense claims

within five (5) business days of an order being entered granting this application.

                           RELIEF REQUESTED AND ANALYSIS

10.      As a result of the PSA and Histology Agreement and Community Pathology’s continued

provision of pathology services post-Petition according to these agreements, Debtors continued

to provide clinical pathology services to patients at its main hospital campus during the pendency

of the Chapter 11 proceeding in this Court. In other words, the hospital operated without any

interruption in the pathology services that would have otherwise been furnished to its patients or

medical staff by virtue of its agreements with Community Pathology.

11.      By this Application, Community Pathology and UGH LP request the entry of an Order

approving the parties agreement to pay Community Pathology’s administrative expense claim

pursuant to section 503(b)(1) of the Bankruptcy Code for the services it provided under the PSA

and General Histology agreements (the “Administrative Expense”).

12.      Section 503(b)(1)(A) of the Bankruptcy Code provides, in pertinent part:

                After notice and a hearing, there shall be allowed, administrative
                expenses, other than claims allowed under section 502(f) of this
                title, including—

                (1) (A) the actual, necessary costs and expenses of preserving the
                    estate including—

                (i)    wages, salaries, and commissions for services rendered
                       after the commencement of the case; and

                                             ***
14.      To qualify as an “actual and necessary cost” under § 503(b)(1)(A) of the Bankruptcy

Code, a claim against the estate “must have arisen post-petition and as a result of actions taken

by the trustee that benefitted the estate.” In re Home Interiors & Gifts, Inc., No. 08-31961-11-

BJH, 2008 WL 4772102, at *4 (Bankr. N.D. Tex. Oct. 9, 2008). “A prima facie case [entitling

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the creditor to payment] under § 503(b)(1) may be established by evidence that (1) the claim

arises from a transaction with the debtor-in-possession; and (2) the goods or services supplied

enhanced the ability of the debtor-in-possession’s business to function as a going concern.”

Toma Steel Supply, Inc. v. TransAmerican Natural Gas Corp. (In re TransAmerican Natural Gas

Corp.), 978 F.2d 1409, 1416 (5th Cir. 1992). It is undisputed that the administrative expenses

sought here arise from post-petition transactions between Community Pathology and Debtors. A

claimant’s performance of a pre-petition contract and the debtor’s acceptance of that

performance establishes a post-petition transaction. See, e.g., In re Goody’s Family Clothing,

Inc., 401 B.R. 656, 671 (D. Del. 2009) (citing In re White Motor Corp., 831 F.2d 106, 110 (6th

Cir. 1987)). As indicated above, Community Pathology’s services enhanced the Debtors’ ability

to function as a going concern by ensuring the continued provision of clinical pathology services

for patients cared for at its main hospital campus.

15.      Community Pathology’s post-petition Services under the PSA and General Histology

Agreements constitute “actual and necessary costs” of the estate and, therefore, are entitled to

priority before other, unsecured nonpriority claims. See § 507(a)(1); Total Minatome Corp. v.

Jack/Wade Drilling, Inc. (In re Jack/Wade Drilling, Inc.), 258 F.3d 385, 387 (5th Cir. 2001).

         WHEREFORE, Community Pathology, P.L.L.C. requests entry of an Order: (i)

allowing it an Administrative Expense Claim in the total amount of $22,416.07 pursuant to

section 503(b)(1) of the Bankruptcy Code; (ii) directing the Debtors to pay Community

Pathology, P.L.L.C.’s Administrative Expense Claim within five (5) days of the Court’s order

granting this application, and prior to any distribution or payment by the Debtors to holders of

claims that are junior in priority to the Administrative Expense pursuant to section 507 of the

Bankruptcy Code; and (iii) such other and further relief as is just and equitable.


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DATED: February 24, 2016

                                                    Respectfully submitted,

                                                    FERNELIUS ALVAREZ SIMON PLLC

                                                    By /s/ Graig J. Alvarez

                                                       Graig J. Alvarez
                                                       Attorney-in-Charge
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                                                       Telecopier: 713-654-4039

                                                       ATTORNEYS FOR
                                                       Baylor College of Medicine,
                                                       Baylor Pathology Consultants, and
                                                       Community Pathology, P.L.L.C.


                               CERTIFICATE OF SERVICE

       I hereby certify that all attorneys of record who have consented to electronic service are
being served this 24th day of February 2016, with a true and correct copy of this document via
the Court’s CM/ECF system, and that this motion was otherwise served by ECF, email, or first-
class United State mail (without exhibits by email or mail, which will be mailed or emailed upon
request).

                                                       /s/ Kara Stauffer Philbin
                                                          Kara Stauffer Philbin




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                                                                                                                                          STAT
             NAME                       ADDRESS1                     ADDRESS2                   ADDRESS3          ADDRESS4      CITY        E
1997 HILL TRUST                 ATTN: LEGAL DEPT.           2303 WINDSOR RD.                                                 AUSTIN       TX
ACCORD HEALTHCARE               ATTN: LEGAL DEPT.           1009 SLATER RD., SUITE 210-B                                     DURHAM       NC
ADMIRAL LINEN & UNIFORM SERVICE ATTN: LEGAL DEPT.           2030 KIPLING                                                     HOUSTON      TX
ASSESSMENTS, INC.               ATTN: LEGAL DEPT.           D100                                                             PASADENA     TX
ASSESSMENTS, INC. D/B/A C.      C/O LAW OFFICE OF PETER                                      ELEVEN GREENWAY
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BALOR PATHOLOGY CONSULTANTS                              ATTN: GRAIG J. ALVAREZ AND          1221 MCKINNEY ST,
AND COMMUNITY PATHOLOGY, PLLC C/O FERNELIUS ALVAREZ PLLC KARA STAUFFER PHILBIN               SUITE 3200                      HOUSTON      TX
CONSULTANTS                     ATTN: LEGAL DEPT.           1 BAYLOR PLAZA, SUITE 286A                                       HOUSTON      TX
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BECKMAN COULTER INC.             C/O BERNSTEIN-BURKLEY, P.C. ESQ.                            707 GRANT ST.      TOWER,       PITTSBURGH   PA
TEXAS, A DIVISION OF HEALTH CARE C/O CONLEY ROSENBERG                                        5080 SPECTRUM DR.,
SERVICE CORPORATION, A MUTUAL MENDEZ & BRENNEISE LLP         ATTN: JAY M. ROSENBERG          SUITE 850 E                     ADDISON      TX
BRANDON LEE INVESTMENTS, INC.   ATTN: JASON A. POWERS       5914 RIVERCHASE TRAIL                                            KINGWOOD     TX
COUNTY DRAINAGE DISTRICT #4,    FIELDER, COLLINS & MOTT,                                     1235 NORTH LOOP
SPECIAL ROAD BRIDGE DISTRICT    L.L.P.                      C/O MICHAEL J. DARLOW            WEST, SUITE 600                 HOUSTON      TX
COUNTY DRAINAGE DISTRICT #4,    FIELDER, COLLINS & MOTT,                                     1235 NORTH LOOP
SPECIAL ROAD BRIDGE DISTRICT    L.L.P.                      C/O OWEN M. SONIK                WEST, SUITE 600                 HOUSTON      TX
C. FOSTER & ASSOCIATES          ATTN: LEGAL DEPT.           D100                                                             PASADENA     TX
DISTRICT                        BRAGG & ALLEN, PC           ATTN: LEE GORDON                 PO BOX 1269                     ROUND ROCK TX
CAMBRIDGE INTERNATIONAL, LLC    C/O ANDREWS KURTH LLP       ATTN: MARK C. HODGES             SUITE 4200                      HOUSTON      TX
                                                            ATTN: TIMOTHY A. DAVIDSON II &   600 TRAVIS ST.,
CAMBRIDGE PROPERTIES            C/O ANDREWS KURTH LLP       JOSEPH P. ROVIRA                 SUITE 4200                      HOUSTON      TX
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CAMBRIDGE PROPERTIES            ATTN: ANDREWS KURTH LLP     ROVIRA                           SUITE 4200                      HOUSTON      TX
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CAYENNE MEDICAL, INC.           C/O FISHMAN JACKSON PLLC    ATTN: PAUL B. GEILICH, ESQ       GALLERIA TOWER       ROAD       DALLAS       TX
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CPM MEDICAL CONSULTANTS, LLC    ATTN: LEGAL DEPT.             1565 N. CENTRAL EXPWY, #200                                      RICHARDSON TX
                                ATTN: WALLER LANSDEN          C/O JOHN C. TISHLER & TYLER    511 UNION ST.,
CREDIT VALUE PARTNERS, LP       DORTCH & DAVIS, LLP           N. LAYNE                       SUITE 2700                        NASHVILLE   TN
                                ATTN: GRUBER HURST ELROD      C/O DAVID W. ELROD & WORTHY    1445 ROSS AVE.,
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GHNC, P.A.                      CANNON, P.C.                  C/O SIMON W. HENDERSHOT, III   SUITE 600                         HOUSTON     TX
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JOYCE, MCFARLAND + MCFARLAND      ATTN: LEGAL DEPT.             712 MAIN ST., SUITE 1500                                        HOUSTON      TX
SOUTH, LLC                        ATTN: MAYER BROWN LLP         C/O AMMAD WAHEED, ESQ.        SUITE 3400                        HOUSTON      TX
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LISKOW & LEWIS, APLC              ATTN: MICHAEL D. ROBERTSON 1001 FANNIN ST., SUITE 1800                                        HOUSTON      TX
                                                                                                                   1221 LAMAR
MANAGEMENT AFFILIATES OF                                        ATTN: CRAIG E. POWER, MISTY FOUR HOUSTON           ST, 16TH
NORTHEAST HOUSTON, LLC            COKINOS, BOSIEN & YOUNG       A. SEGURA & ABBIE G. SPRAGUE CENTER                FLOOR        HOUSTON      TX
                                  ATTN: DAVID H. LEIGH AND      36 SOUTH STATE STREET, 14TH                                     SALT LAKE
MED ONE CAPITAL FUNDING           MICHAEL R. JOHNSON            FLOOR                                                           CITY         UT
MEDHOST OF TENNESSEE, INC.        CUMMINGS LLP                  ATTN: JAY R. BENDER, ESQ.     NORTH                             BIRMINGHAM   AL
MEDHOST DIRECT, INC.              C/O JONES DAY                 ATTN: PAUL M. GREEN           3300                              HOUSTON      TX

MESCH, CLARK & ROTHSCHILD, P.C. ATTN: SUSAN N. GOODMAN      259 N. MEYER AVENUE                                                 TUCSON       AZ
                                                            ATTN: JOHN A. HARRIS &            ONE RENAISSANCE      CENTRAL
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                                  C/O VORYS, SATER, SEYMOUR ATTN: JOHN J. SPARACINO &         700 LOUISIANA ST.,
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MIDCAP FUNDING IV TRUST           C/O QUARLES & BRADY LLP   ROBERT P. HARRIS                  SQUARE               AVE.         PHOENIX      AZ
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MOSS, KRUSICK & ASSOCIATES,LLP    ATTN: LEGAL DEPT.             100                                                             WINTER PARK FL
CENTER, LP                        C/O GIBSON GRUENERT, PLLC     ATTN: THOMAS GRUENERT         ST., OFFICE WEST -                PEARLAND     TX
CENTER, LP, SUCCESSOR-BY-         C/O GRUENERT LAW GROUP,                                     11200 BROADWAY,
MERGER TO KINGWOOD                P.C.                          ATTN: THOMAS G. GRUENERT      SUITE 2344                        PEARLAND     TX
NEVADA DEPT. OF TAXATION          115                                                                                           CARSON CITY NV
NORTHWEST ANESTHESIA & PAIN       ATTN: LEGAL DEPT.             SUITE 400                                                       HOUSTON      TX
GENERAL                           ATTN: HAL MORRIS              300 W. 15TH ST.                                                 AUSTIN       TX
GENERAL                           5111                          N.W.                                                            WASHINGTON DC
ATTORNEY                          FLOOR                                                                                         DALLAS       TX
TRUSTEE                           515 RUSK ST., SUITE 3516                                                                      HOUSTON      TX
OMNI SURGICAL SPINE               ATTN: LEGAL DEPT.             305                                                             AUSTIN       TX
CONSULTING LLC                    WALKER PLLC                   ATTN: BRIAN A. KILMER         2ND FLOOR                         HOUSTON      TX
PHILIPS HEALTHCARE                ATTN: LEGAL DEPT.             PO BOX 100355                                                   ATLANTA      GA
OF PHILIPS ELECTRONICS NORTH      ATTN: RIDDELL WILLIAMS P.S.   C/O BRUCE J. BORRUS           SUITE 4500                        SEATTLE      WA
                                  C/O GARDERE WYNNE SEWELL      ATTN: MARCUS HELT & STEVEN    THANKSGIVING
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                                  C/O GARDERE WYNNE SEWELL      ATTN: MARCUS HELT & EVAN      1601 ELM STREET,
PLAINSCAPITAL BANK                LLP                           BAKER                         SUITE 3000                        DALLAS       TX
                                 Case 15-31086 Document 884 Filed in TXSB on 02/24/16 Page 11 of 21


                                  ATTN: JOHN F. HIGGINS,
                                  AARON J. POWER & JOSHUA W.
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REILLY MEDICAL SYSTEMS, LLC       P.C.                         ATTN: DAMON J. CHARGOIS       SUITE 1700                        HOUSTON     TX
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RICHARD HILL                      2303 WINDSOR RD.                                                                             AUSTIN      TX
RUSTY HARDIN & ASSOCIATES, LLP    ATTN: LEGAL DEPT.            1401 MCKINNEY STREET                                            HOUSTON     TX
DIVISION                          SECURITIES ADMINISTRATOR     5200                                                            LAS VEGAS   NV
COMMISSION                        REGIONAL DIRECTOR            BURNETT PLAZA                 SUITE 1900, UNIT 18               FORT WORTH TX
COMMISSION                        SONIA CHAE                   175 WEST JACKSON BLVD         SUITE 900                         CHICAGO     IL
INC.                              C/O REED SMITH LLP           ATTN: FRANCISCO RIVERO        SUITE 1700                        HOUSTON     TX
INC.                              C/O REED SMITH LLP           ATTN: LAUREN S. ZABEL         SUITE 3100                        PHILADELPHIA PA
INC.                              C/O REED SMITH LLP           ATTN: CLAUDIA Z. SPRINGER     SUITE 3100                        PHILADELPHIA PA
INC.                              ATTN: LEGAL DEPT.            51 VALLEY STREAM PKWY.                                          MALVERN     PA
SOLANA SURGICAL LLC               ATTN: LEGAL DEPT.            6363 POPLAR AVE., SUITE 312                                     MEMPHIS     TN
MEDICAL TECHNOLOGY                BUREAU                       214                                                             PAUL        MN
                                  ATTN: NEIL LURIA & MATTHEW   1603 ORRINGTON AVE., SUITE
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RESOURCES, INC.                   C/O SINGER & LEVICK, PC      ATTN: MICHELLE E. SHIRO, ESQ. ROAD, SUITE 140                   ADDISON     TX
ST. JUDE MEDICAL S.C. INC         ATTN: LEGAL DEPT.            22400 NETWORK PLACE                                             CHICAGO     IL
ACCOUNTS                          DIVISION - BANKRUPTCY        PO BOX 13528                                                    AUSTIN      TX
STATE SECURITIES BOARD            SECURITIES COMMISSIONER      208 E. 10TH ST., 5TH FLOOR    PO BOX 13167                      AUSTIN      TX
SUCCESS HEALTHCARE, LLC           C/O BUCHALTER NEMER, P.C.    ATTN: MARY H. ROSE            BLVD, SUITE 1500                  LOS ANGELES CA
SUMMER ENERGY, LLC                ATTN: LEGAL DEPT.            PO BOX 660938                                                   DALLAS      TX
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TENNESSEE DEPT. OF REVENUE        GENERAL'S OFFICE,            PO BOX 20207                                                    NASHVILLE   TN
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SERVICES                          PO BOX 149347                                                                                AUSTIN      TX
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THE ARENA GROUP, L.P.             MANAGEMENT CORPORATION       C/O TRACY FINK                RD., SUITE 500                    HOUSTON     TX
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TRUSTMARK NATIONAL BANK         TURBYFILL, PLLC             ATTN: DONALD L. TURBYFILL    SUITE 420 WEST                   HOUSTON    TX
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COMMISSION                      100 F STREET, NE                                                                          WASHINGTON DC
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UNIVERSAL MEDIA GROUP LLC       ATTN: ANDERSON TOBIN, PLLC C/O J. SETH MOORE             TOWER              RD., SUITE    DALLAS     TX
UNSECURED CREDITORS                                        ATTN: ELIZABETH M. GUFFY & W. 600 TRAVIS STREET,
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VITAL NEWEIGH CONTROL, INC.     ATTN: LEGAL DEPT.           4009 RICHMOND AVE.                                            HOUSTON    TX
W. L. GORE & ASSOCIATES         ATTN: LEGAL DEPT.           555 PAPER MILL ROAD                                           NEWARK     DE
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WINSTEAD PC                     ATTN: LEGAL DEPT.           500 WINSTEAD BLDG.           ST.                              DALLAS     TX
                                                            ATTN: FRANK ALVAREZ,
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            Case 15-31086 Document 884 Filed in TXSB on 02/24/16 Page 18 of 21



                                         IN THE UNITED STATE BANKRUPTCY COURT
                                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

IN RE:                                                                 §       CASE NO. 4:15-31086
                                                                       §
UNIVERSITY GENERAL HEALTH                                              §       CHAPTER 11
SYSTEM, INC., et al.                                                   §
                                                                       §       JOINTLY ADMINISTERED
                             DEBTORS1                                  §
                                                                                                                     

                  PROPOSED ORDER ON SECOND APPLICATION FOR PAYMENT OF POST-
                        PETITION ADMINISTRATIVE EXPENSE OWED TO
                                COMMUNITY PATHOLOGY P.L.L.C.

              On this day, the Court considered the Second Application for Payment of Post-Petition

Administrative Expense (Dkt. ___) filed by Community Pathology, P.L.L.C. on February 24,

2016, and seeking payment on administrative expense owed to Community Pathology, P.L.L.C.

(“Community Pathology”) by University General Hospital, LP. This Court, having considered

the Motion, any objections or opposition to the Motion, the evidence in support thereof, hereby

ORDERS


       1. The Motion is GRANTED as set forth herein;

       2. Community Pathology shall be allowed its post-petition administrative claim consisting

              of $2,500.00 (December 2015) owed on the Medical Directorship agreement;

       3. Community Pathology shall be allowed its post-petition administrative claim consisting

              of $19,916.07 (October-December 2015) on the Histology Processing agreement;




                                                            
1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: University
General Health System, Inc. (2436), UGHS Autimis Billing, Inc. (3352), UGHS Autimis Coding, Inc. (3425),
UGHS ER Services, Inc. (6646), UGHS Hospitals, Inc. (3583), UGHS Management Services, Inc. (4100), UGHS
Support Services, Inc. (3511), University General Hospital, LP (7964), and University Hospital Systems, LLP
(3778).
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    4. UGH LP shall pay Community Pathology the approved administrative claims herein by

         mailing payment in full to its counsel of record, within five (5) business days of the

         Court’s order granting its Motion, and prior to any distribution or payment by the Debtors

         to holders of claims that are junior in priority to the Administrative Expense pursuant to

         section 507 of the Bankruptcy Code.


Dated: ________________


                                               ______________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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181200
            Case 15-31086 Document 884 Filed in TXSB on 02/24/16 Page 20 of 21



                                         IN THE UNITED STATE BANKRUPTCY COURT
                                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION

IN RE:                                                                 §          CASE NO. 4:15-31086
                                                                       §
UNIVERSITY GENERAL HEALTH                                              §          CHAPTER 11
SYSTEM, INC., et al.                                                   §
                                                                       §          JOINTLY ADMINISTERED
                             DEBTORS1                                  §
                                                                                                                     

          NOTICE OF HEARING ON MOTION FOR PAYMENT OF POST-PETITION
      ADMINISTRATIVE EXPENSE OWED TO COMMUNITY PATHOLOGY P.L.L.C.

              Please Take Notice that a hearing on the Motion for Payment of Post-Petition

Administrative Expense Owed to Community Pathology, P.L.L.C. by University General

Hospital, LP will be held on March 21, 2016 at 1:00 p.m. (Houston Time, CST) before the

Honorable Letitia Z. Paul, United States Bankruptcy Judge, 515 Rusk Avenue, 4th Floor,

Courtroom 401, Houston, Texas 77002.


DATED: February 24, 2016

                                                                           Respectfully submitted,

                                                                           FERNELIUS ALVAREZ SIMON PLLC

                                                                           By /s/ Kara Stauffer Philbin

                                                                               Graig J. Alvarez
                                                                               Attorney-in-Charge
                                                                               State Bar No. 24001647
                                                                               Federal I.D. No. 22596
                                                                               1221 McKinney, Suite 3200
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1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: University
General Health System, Inc. (2436), UGHS Autimis Billing, Inc. (3352), UGHS Autimis Coding, Inc. (3425),
UGHS ER Services, Inc. (6646), UGHS Hospitals, Inc. (3583), UGHS Management Services, Inc. (4100), UGHS
Support Services, Inc. (3511), University General Hospital, LP (7964), and University Hospital Systems, LLP
(3778).
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                                                         Kara Stauffer Philbin
                                                         State Bar No. 24056373
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                                                         ATTORNEYS FOR
                                                         Baylor College of Medicine,
                                                         Baylor Pathology Consultants, and
                                                         Community Pathology, P.L.L.C.


                                CERTIFICATE OF SERVICE

         I hereby certify that all attorneys of record who have consented to electronic service are
being served this 24th day of February 2016, with a true and correct copy of this document via
the Court’s CM/ECF system, and that this notice of hearing was otherwise served by ECF or
first-class United State mail on the attached service list.

                                                        /s/ Kara Stauffer Philbin
                                                           Kara Stauffer Philbin




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